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 1 JOHN D. CLINE (CA State Bar No. 237759)
   50 California Street, Suite 1500
 2 San Francisco, CA 94111
   Telephone: (415) 662-2260 │Facsimile: (415) 662-2263
 3 Email: cline@johndclinelaw.com

 4 KEVIN M. DOWNEY (Admitted Pro Hac Vice)
   LANCE A. WADE (Admitted Pro Hac Vice)
 5 AMY MASON SAHARIA (Admitted Pro Hac Vice)
   KATHERINE TREFZ (CA State Bar No. 262770)
 6 WILLIAMS & CONNOLLY LLP
   725 Twelfth Street, NW
 7 Washington, DC 20005
   Telephone: (202) 434-5000 │Facsimile: (202) 434-5029
 8 Email: KDowney@wc.com; LWade@wc.com; ASaharia@wc.com; KTrefz@wc.com

 9 Attorneys for Defendant ELIZABETH A. HOLMES

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11                               UNITED STATES DISTRICT COURT

12                             NORTHERN DISTRICT OF CALIFORNIA

13                                       SAN JOSE DIVISION

14
     UNITED STATES OF AMERICA,                 )   Case No. CR-18-00258-EJD
15                                             )
            Plaintiff,                         )   [PROPOSED] ORDER GRANTING MS.
16                                             )   HOLMES’ RENEWED MOTION TO EXCLUDE
       v.                                      )   CERTAIN NEWS ARTICLES
17                                             )
     ELIZABETH HOLMES and                      )   Hon. Edward J. Davila
18   RAMESH “SUNNY” BALWANI,                   )
                                               )
19          Defendants.                        )
                                               )
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     [PROPOSED] ORDER GRANTING MS. HOLMES’ RENEWED MOTION TO EXCLUDE CERTAIN
     NEWS ARTICLES
     CR-18-00258-EJD
            Case 5:18-cr-00258-EJD Document 895-1 Filed 08/06/21 Page 2 of 2




 1         This Cause having come before the Court upon Defendant Elizabeth A. Holmes’ Renewed

 2 Motion to Exclude Certain News Articles. After due consideration of the filings, the governing law and

 3 the argument of the parties:

 4                 IT IS HEREBY ORDERED that Ms. Holmes’ motion is GRANTED.

 5                 IT IS FURTHER ORDERED that the news articles at Exhibits 1-7 to the Motion are

 6 INADMISSIBLE.

 7                 IT IS SO ORDERED.

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 9 Dated: _____________

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11                                                                   Hon. Edward J. Davila
                                                                     United States District Judge
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   [PROPOSED] ORDER GRANTING MS. HOLMES’ RENEWED MOTION TO EXCLUDE CERTAIN
28 NEWS ARTICLES
   CR-18-00258 EJD
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